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                            EXHIBIT A
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Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 3 of 34
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 4 of 34




                          EXHIBIT B
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 Registration History of 104.238.37.0/24 for the time period of May 18, 2018 to September 30, 2020

The following information represents ARIN’s records as to the registration history of the following Internet
Protocol (IP) block: 104.238.37.0/24.

104.238.37.0/24 is part of a larger /19 IP block (104.238.32.0/19).

Since May 18, 2018 at 14:26:14, 104.238.32.0/19 has been directly registered to the following
organization:

        NetRange:     104.238.32.0 - 104.238.63.255
        CIDR:      104.238.32.0/19
        NetName:      NET104-238
        NetHandle: NET-104-238-32-0-1
        Parent:     NET104 (NET-104-0-0-0-0)
        NetType:     Direct Allocation
        OriginAS:    AS62874
        Organization: Web2Objects LLC (WL-113)
        RegDate:     2014-12-03
        Updated:     2021-06-16
        Ref:      https://rdap.arin.net/registry/ip/104.238.32.0

        OrgName:      Web2Objects LLC
        OrgId:     WL-113
        Address:    228 Park Ave S #34617
        City:     New York
        StateProv: NY
        PostalCode: 10003
        Country:    US
        RegDate:     2013-10-08
        Updated:     2022-05-11
        Comment:      Support and complaints via e-mail only!
        Ref:      https://rdap.arin.net/registry/entity/WL-113
        Linked web users: florian.web2objects; Florian Moschner; florian@web2objects.com

        OrgTechHandle: WNT4-ARIN
        OrgTechName: web2objects NOC team
                                                                                                     EXHIBIT
        OrgTechPhone: +1-201-497-0599
        OrgTechEmail: noc@web2objects.com
        OrgTechRef: https://rdap.arin.net/registry/entity/WNT4-ARIN                                   176
                                                                                                  21-cr-10104-PBS




                                                                                  KLYUSHIN-HC-001885
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On June 18, 2018 at 20:36:55, Web2Objects LLC reassigned 104.238.37.0/24 to the following organization:

       Org Handle: STL-281
       Org Name: Strong Technology LLC
       Can Allocate: No
       Address: 1 Summer Street
       City: Boston
       State/Province: MA
       Postal Code: 02110
       Country Code: US

       POC: ABUSE2369-ARIN
       Status: Unverified
       POC Type: General use
       Contact Type: Role
       Uses X509: N
       Last Name or Role Name: Abuse
       First Name:
       Middle Name:
       Company Name: Strong Technology LLC
       Street: 1920 McKinney Ave 7th Floor
       City: Dallas
       State/Province: TX
       Postal Code: 75201
       Country: United States
       Email Address: abuse@strongtechnology.net
       Phone: +1-415-255-5711 (Office) +1-858-712-8055 (Fax)
       Linked web users: davide; David Edwards; david.edwards@netprotect.com




                                                                              KLYUSHIN-HC-001886
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                           EXHIBIT C
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                                                            EXHIBIT



                                                             145
                                                         21-cr-10104-PBS




                                                  KLYUSHIN-HC-000474
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 9 of 34




                             EXHIBIT D
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                   COLLOCATION/INTERCONNECTION LICENSE



                         J\'.IARKLEY BOSTON, LLC,.
                        a Delaware Limited Liability Company

                                    as Licensor;


                                        and
                                    MICFO LLC


                         a Nevada Limited Liab1lity Company

                                    as licensee




                                                                  EXHIBIT



                                                                   142
                                                               21-cr-10104-PBS




CONFIDENTIAL                                                                 MAR001
       Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 11 of 34




                                                              MARl<lEV BOSTON
                                               COLLOCATION/INTERCONNECTION LICEr,JSE
This Colloc.tlo11/lnterconnectlon LfcenSII (the "UcanH"), dated as of the date set forth In !l!!!!.J: of the Summary of Basic Ui:ensa Information (tha
•sammary"), below, Is mad• by and betwol'.!II MARKLEY BOSTON, LLC, a Pelawaro Umltld UablUty Company, 8$ l.lc6n~r ("Markley'"), and MICFO llC, a
Navada Limited l11blllly Company, as lken~ee(«Curtomer"),

                                                SUMMARY OF BASIC LICENSE INFORMATION
           TERMS OF UC!:NSE                             DESCRIPTION
           Dab&:                                        December_, 2015 (the nEffoctfvc Oat.a")
           l'remls••
           (S11ttlon 1);
           2.1     Building:                            Approxlmately'.392,000 rentable squani feat at One Summer Streat, 8oston, Massachusetts 02110.
           2.2     Premises:                            On ■ (1) APC   AR3100 cablne,t supplled by Markley, :as moro particularly shown on Exhibit A attached to
                                                        the license.
 a.        Ucense Term
           (Section 2):
           3.1     l.angth of Term;                     Three (3) yearsand no (OJ months.
           3,2     Ucense Commencement Date:            Upon the earlier of {1} completion of Markley's Work or (2) Customer obtaining connectivity in th
                                                        Premises.
           3,3     Ucen,e Elcplratlon Oirte:            Th• date lmmedtately preceding the three (3) ymar ~nnivem!ry of the llconsa Commant:<lmentOal:e,
 4,        Stlmmaryoff,it~
           (§!!.E!if!~:
           4.1 Spat11 and Rl!served UPS Fee:            $900 monthly with 4'1£ annual esailatlon$ on the anniversary of the License Commenament Date. Tho
                                                        first month fee payment is due upon e,1ecutl0n ofthis Licensa Agreement.
           4,2     Crou-Conmtdlon ms:                   $250 monthly per fiber cron•connactlon (with one-tima $350 cabling chargo p11r cross-connaction),
                                                        $75 monthlyforaachCOcJ( cross-connection {with aone·tlme$150 ablln1 c;harge),$50 monthly for
                                                        each copper or Ethernet cross connection (with a oniKimi! $150 cabling foe), $150 monthly par t.GX
                                                        Panel in tha 4th floor Cross Connection !loom, with c:aP3city of upto 144 port$(with a one·tfme $1,000
                                                        installation fee) (raduc.s monthlycharaasfor Flborcross-connectlon< to $200, with one-tima e11bUna
                                                        charge of $350 per crou·connact), $75 monthlyforeach Canog~ connection, $200 monthtf per Blade
                                                        In the 5th Floor Cron-Connect room, with capacity of up to4$ ports (with a one-time $1,lSO
                                                        lnstallatlonfe.11) reducas monthlv d,argos for Sth Floor l'iberccowconnactlonsto $200, with a one•
                                                        time cabllna: charea of $350 par crou•conn•ctl, Cross-Connect fues are ~ubject to 4% annual
                                                        Mcalations on the anniversary of the License Commencement Ollt,,
           4.3     M12nthly Ullflty Fee:                $400 monthly with 4Yo annual esulatlons on the unnivem•I)' of the llcenH Commencement ~te. Tho
                                                        first month Utility fue is due upon execution of thls License Acreement.
           4A      Non-Rea1nin11 Set-Up fee:            $500, doe upon execution of this Uc:ense.
           4,5     Fee Commencement Date:               Same e,the License Commencement Data Rllferenced tn Sllmmary Section 3-2 above.
 s.        Man nu and Location of Payment:              Payment of the Feei (as d<tflned tn ~ of this License) or any componentthemof sha nbe made
                                                        from time to time by Customer to Markley by(.,) wire tranrifer ;,f lmmedlatelv llvallable funds lnto
                                                        account number                 at TD Bank, N.A,, ABA No. 211?. 70545, (b) check,ent by regular ntail to
                                                                                   Bosten, MA 0220S·500B, or (c) llS otherwl~11 de,lg,,at,id by TD Bank, N.A,
                                                        (tho •sea.ired Party") under the Borrower'uecured credit facility (the "Sru:11r11d CredltFadllty") from
                                                        tlmetotlme upon written notice to the customer. UntHthe customer ra<:lllveswrltte11 notice from the
                                                        Secured P;trty that the Sacured Credit l';icllity has been terminated, natther th!! Markley northe
                                                        Customer (or both of tllem) may amend thi$ !!!J!!1. in any respect without the prior written eonsent ot
                                                        the Secured Party,
 6.        Securfty 0.poslt:                            Two(2) months Spam and Reserved UPS Fee, due upon ,i~ecutlo11 of this llctn$il and refundable upon
                                                        el(pinition of the T""'1,
 7.        Addren ofCu~tamer:                           Attention Lepl Department
           [Sectfo~J~:                                  198 East Bay Street, Suite 201
                                                        Charkmon, SC 2.9401

                                                         Phone: 800·900·7144
 l!,       Addren of Markley:                           Attention: legal Department
           (Secllop l~,l!j:                             Marldny Boston, LLC
                                                        One Summer Street, 5th Floor
                                                        Boston, Massachusetts 02110
                                                        Phona: 617 .451.6464




CONFIDENTIAL                                                                                                                                    MAR002
      Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 12 of 34




                                                                   EXHIBITS
                                                       NOTICE OF LICENSE TERM DATES
To;



      Telephone: _ _ _ _ _ __
      E-mail; _ _ _ _ _ _ __

Re:        Collocation/Interconnection License dated December_, 2015 between MARKLEY BOSTON, llC, a Delaware Urnlted
           Liability Company ("Markley "), and MICFO, LLC a Nevada Limited Liability Company {"Customer") concernlng one {l)
           cabinet in the Building located at Markley Street, Boston, Massachusetts 02110.

Gentlemen:

           In accordance with the Coltocatlon/lnterconnection License (the "License"), we wish to advise you and/or confirm as
follows:

          l. The License Term shall commence on or has commenced on the License Commencement Date of December __,
2015 for a license Term of three (3) years, ending on _ _ _ _ __, 2018.

           2.    Space and Reserved UPS Fees commenced to accrue on _ _ _ __, 2015, In the amount of $900 per month.

          3. Your payment checks should be made payable to Markley Boston, LLC, or such other person or entity as designated in
writing by Markley •

                                                                      "Markley":

                                                                      MARKLEY BOSTON, LLC,
                                                                      a Delaware limited Liability Company


                                                                  By:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                      Name: Jeffrey D, Markley
                                                                      Its: Manage=r_ _ _ _ _ _ _ _ _ _ _ _ _ __

      Agreed to and Accepted
      as of December 23 2015,

      ''Customer":
      MICFO, LLC,
      a Nevada limited Liability Company



By:_N_a_m_i_:~....,,m""1;""~'""~---f-es-t-an_ _ _ _ _ _ _ _ __

      Its: Executive Director




                                                                 P.XHIRITR




CONFIDENTIAL                                                                                                               MAR009
                       Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 13 of 34



        Markley Boston, LLC
        1 Summer Street, 5th Floor
        One Summer Street                                                                                  Invoice# 215486
        Boston, MA 02110
        (617) 451-6464                                                                          For Billing Inquiries Email: dvaca@markleygroup.com



Invoice Date: 9/14/2018                                                                               ACCOUNT INFORMATION:
                                                                                                      Bldg-Lease#: 05-000811
               MICFO LLC                                                                              Suite # : 55030
               198 East Bay St
               Suite 201
               Charleston, SC 29401




 Period        Suite          Code       Description                                                                                     Amount Due
10/1/2018      55030            CAR Cabinet/Cage Fee                                                                                             973.44
10/1/2018      55030             FIB Fiber Cross Connection                                                                                      540.80
10/1/2018      55030            UTL Utility Fee                                                                                                  432.64




                                                                                                              BALANCE DUE                      1,946.88




 MAKE CHECKS PAYABLE TO:                      Markle Boston, LLC
 Invoice Date: 9/14/2018                                                                                 ACCOUNT INFORMATION:

 Please send this portion of the invoice with your remittance.       INVOICE# 215486                    Bldg-Lease#: 05-000811
                                                                     MICFOLLC                           Suite# : 55030

         Markley Boston, LLC                                     This invoice is provided as a courtesy notice regarding your fees
         CL800103                                                and/or rent charges. Payment is due on the first of each month and
         P.O. Box 55008                                          will be considered past due after the first day of the month. Late
         Boston, MA 02205-5008                                   fee may be assessed pursuant to the terms of your agreement.

                                                                             PLEASE NOTE OUR NEW ADDRESS




 MAKE CHECKS PAYABLE TO:                      Markley Boston, LLC                                           BALANCE DUE                        1,946.88


              CONFIDENTIAL                                                                                                            MAR063
                      Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 14 of 34


        Markley Boston, LLC
        1 Summer Street, 5th Floor
        One Summer Street                                                                                 Invoice# 218073
        Boston, MA 02110
        (617) 451-6464                                                                            For Billing Inquires Email: dvaca@markleygroup.com



Invoice Date: 9/27/2018                                                                               ACCOUNT INFORMATION:
                                                                                                      Bldg-Lease #: 05-000811
               MICFO LLC                                                                              Suite # : 55030
               198 East Bay St
               Suite 201
               Charleston, SC 29401




 Period        Suite          Code       Description                                                                                     Amount Due
10/1/2018      55030            TEC #40917-REMOTE HANDS                                                                                        950.00




                                                                                                             BALANCE DUE                       950.00




 MAKE CHECKS PAYABLE TO:                      Markle Boston, LLC
 Invoice Date: 9/27/2018                                                                                 ACCOUNT INFORMATION:

 Please send this portion of the invoice with your remittance.       INVOICE # 218073                   Bldg-Lease#: 05-000811
                                                                     MICFO LLC                          Suite# : 55030

         Markley Boston, LLC                                     This invoice is provided as a courtesy notice regarding your fees
         CL800103                                                and/or rent charges. Payment is due on the first of each month and
         P.O. Box 55008                                          will be considered past due after the first day of the month. Late
         Boston, MA 02205-5008                                   fee may be assessed pursuant to the terms of your agreement.




 MAKE CHECKS PAYABLE TO:                      Markley Boston, LLC                                           BALANCE DUE                        950.00


              CONFIDENTIAL                                                                                                            MAR064
                      Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 15 of 34



        Markley Boston, LLC
        1 Summer Street, 5th Floor
        One Summer Street                                                                                    Invoice # 220300
        Boston, MA 0211 O
        (617) 451-6464                                                                            For Billing Inquiries Email: dvaca@markleygroup.com



Invoice Date: 10/11/2018                                                                                ACCOUNT INFORMATION:
                                                                                                        Bldg-Lease#: 05-000811
                MICFOLLC                                                                                Suite # : 55030
                198 East Bay St
                Suite 201
                Charleston, SC 29401




 Period        Suite           Code       Description                                                                                      Amount Due
11/1/2018       55030            CAR Cabinet/Cage Fee                                                                                              973.44
11/1/2018       55030             FIB Fiber Cross Connection                                                                                       540.80
11/1/2018       55030            UTL Utility Fee                                                                                                   432.64




                                                                                                                BALANCE DUE                      1,946.88




MAKE CHECKS PAYABLE TO:                         Markle Boston, LLC
Invoice Date: 10/11/2018                                                                                   ACCOUNT INFORMATION:

 Please send this portion of Ille invoice wllll your remittance.       INVOICE# 220300                    Bldg-Lease#: 05-000811
                                                                       MICFO LLC                          Suite # : 55030

         Markley Boston, LLC                                       This invoice is provided as a courtesy notice regarding your fees
         CL800103                                                  and/or rent charges. Payment is due on the first of each month and
         P.O. Box 55008                                            will be considered past due after the first day of the month. Late
         Boston, MA 02205-5008                                     fee may be assessed pursuant to the terms of your agreement.

                                                                               PLEASE NOTE OUR NEW ADDRESS




 MAKE CHECKS PAYABLE TO:                        Markley Boston, LLC                                           BALANCE DUE                        1,946.88


              CONFIDENTIAL                                                                                                              MAR065
                     Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 16 of 34


        Markley Boston, LLC
        1 Summer Street, 5th Floor
        One Summer Street                                                                                  Invoice # 224506
        Boston, MA 0211 o
        (617) 451-6464                                                                         For Billing Inquiries Email: dvaca@markleygroup.com



Invoice Date: 11/20/2018                                                                              ACCOUNT INFORMATION:
                                                                                                      Bldg-Lease#: 05-000811
               MICFO LLC                                                                              Suite # : 55030
               198 East Bay St
               Suite 201
               Charleston, SC 29401




 Period        Suite          Code      Description                                                                                      Amount Due
12/1/2018      55030            CAR Cabinet/Cage Fee                                                                                             973.44
12/1/2018      55030             FIB Fiber Cross Connection                                                                                      540.80
12/1/2018      55030            UTL Utility Fee                                                                                                  432.64




                                                                                                              BALANCE DUE                      1,946.88




 MAKE CHECKS PAYABLE TO:                      Markley Boston, LLC
 Invoice Date: 11/20/2018                                                                                ACCOUNT INFORMATION:

 Please send this portion of the invoice with your remittance.       INVOICE # 224506                   Bldg-Lease#: 05-000811
                                                                     MICFO LLC                          Suite # : 55030

         Markley Boston, LLC                                     This invoice is provided as a courtesy notice regarding your fees
         CL800103                                                and/or rent charges. Payment is due on the first of each month and
         P.O. Box 55008                                          will be considered past due after the first day of the month. Late
         Boston, MA 02205-5008                                   fee may be assessed pursuant to the terms of your agreement.

                                                                            PLEASE NOTE OUR NEW ADDRESS




 MAKE CHECKS PAYABLE TO:                      Markley Boston, LLC                                           BALANCE DUE                        1,946.88


              CONFIDENTIAL                                                                                                            MAR066
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 17 of 34




                           EXHIBIT E
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 18 of 34




                                                                        EXHIBIT



                                                                       142D
                                                                     21-cr-10104-PBS
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 19 of 34




                          EXHIBIT F
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 20 of 34




                                   EXHIBIT



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                                21-cr-10104-PBS




                                                    KLYUSHIN-HC-000035
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                                                    KLYUSHIN-HC-000036
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                                                    KLYUSHIN-HC-000037
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                                                    KLYUSHIN-HC-000038
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 24 of 34




                                                    KLYUSHIN-HC-000039
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 25 of 34




                                                    KLYUSHIN-HC-000040
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 26 of 34




                                                    KLYUSHIN-HC-000041
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 27 of 34




                                                    KLYUSHIN-HC-000042
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 28 of 34




                                                    KLYUSHIN-HC-000043
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                          EXHIBIT G
                   Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 30 of 34
1/6/23, 11:44 AM                                       Search: jacob.wall@stackpath.com – Updating SWIP with ARIN | Fastmail

      Updating SWIP with ARIN
      From:          Justin Baciao <justin.baciao@stackpath.com>
      To:            Florian Moschner <florian@web2objects.com>
      Subject:       Re: Updating SWIP with ARIN
      Date:          Wednesday, October 24, 2018 2:48 PM
      Size:          18 KB

            Florian,

            Thanks for the list and apologies for the delayed response. Can we have the city
            and country updated on the following subnets?

            185.244.8.0 - London, England
            185.244.9.0 - London, England

            104.238.36.0        -   Warsaw, Poland
            104.238.37.0        -   Boston, MA (US)
            104.238.38.0        -   Cleveland, Ohio (US)
            104.238.39.0        -   Prague, Czech Republic

            104.238.41.0 - Johannesburg, South Africa
            104.238.44.0 - Vienna, Austria

            45.56.137.0 - Milan, Italy

            45.56.160.0 - Salt Lake City, Utah (US)
            45.56.161.0 - St. Louis, Missouri (US)

            45.56.169.0       -   Atlanta, Georgia (US)
            45.56.170.0       -   Chicago, Illinois (US)
            45.56.171.0       -   New York City, New York (US)
            45.56.172.0       -   Denver, Colorado (US)
            45.56.173.0       -   Milwaukee, Wisconsin (US)
            45.56.174.0       -   Jackson, Mississippi (US)

            There were three subnets that I wasn't able to place as I'm not sure where they
            are being used. I will have to check with Jacob Wall.

            Please let me know if you need any other information.

            Regards,
                                                                                                                                  EXHIBIT

            Justin Baciao
            Systems Administrator                                                                                                  147
            justin.baciao@stackpath.com
                                                                                                                               21-cr-10104-PBS
            m: +1 602-319-1202
            o: +1 480-739-6729
            StackPath.com

            On 10/5/18, 5:22 PM, "Florian Moschner" <florian@web2objects.com> wrote:
            ﻿


https://app.fastmail.com/mail/search:jacob.wall%40stackpath.com/T3824c3db853ddc97.M89bdf2d724568b98843cb5cc?u=51404151                           1/2
                                                                                                                  KLYUSHIN-HC-000494
                    Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 31 of 34
1/6/23, 11:44 AM                                       Search: jacob.wall@stackpath.com – Updating SWIP with ARIN | Fastmail
                   Hello Justin,

                   I believe those are the ranges that you are leasing from us.

                   Please let me know what you would like to change.

                   185.244.8.0
                   185.244.9.0

                   104.238.34.0
                   104.238.35.0
                   104.238.36.0
                   104.238.37.0
                   104.238.38.0
                   104.238.39.0

                   104.238.41.0
                   104.238.44.0

                   104.238.50.0

                   45.56.137.0

                   45.56.160.0
                   45.56.161.0

                   45.56.169.0
                   45.56.170.0
                   45.56.171.0
                   45.56.172.0
                   45.56.173.0
                   45.56.174.0




https://app.fastmail.com/mail/search:jacob.wall%40stackpath.com/T3824c3db853ddc97.M89bdf2d724568b98843cb5cc?u=51404151                 2/2
                                                                                                                  KLYUSHIN-HC-000495
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                            EXHIBIT H
1/6/23, 11:45 AM     Case 1:21-cr-10104-PBS    Document
                                          Search:                170-1 –Filed
                                                  jacob.wall@stackpath.com Updating02/01/23      Page
                                                                                    SWIP with ARIN         33 of 34
                                                                                                   | Fastmail

      Updating SWIP with ARIN
      From:          Florian Moschner <florian@web2objects.com>
      To:            Justin Baciao <justin.baciao@stackpath.com>
      Cc:            Jacob Wall <jacob.wall@stackpath.com>
      Subject:       Re: Updating SWIP with ARIN
      Date:          Tuesday, November 13, 2018 11:22 AM
      Size:          120 KB

            Hello,

            Attached is the current status.

            Working on getting all to Yes.



            -Florian



            prefixes.png 84 KB




https://app.fastmail.com/mail/search:jacob.wall%40stackpath.com/T3824c3db853ddc97.M89bdf2d724568b98843cb5cc?u=51404151   1/1
Case 1:21-cr-10104-PBS Document 170-1 Filed 02/01/23 Page 34 of 34
